Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 1 of 12 PageID# 9120



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division
 ____________________________________
                                      )
 Anas ELHADY, et al.,                 )
                                      )
       Plaintiffs,                    )
                                      )
 v.                                   )     Case No. 1:16-cv-375 (AJT/JFA)
                                      )
 CHARLES H. KABLE, et al.,            )
                                      )
       Defendants.                    )
 ____________________________________)

              DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ FIFTH MOTION TO
                                  COMPEL

        On January 4, 2019, Judge Trenga largely denied, without prejudice, a sprawling discovery

 motion brought by Plaintiffs, seeking the compelled production of large swaths of documents and

 other information protected by, inter alia, the state secrets and law enforcement privileges. Dkt. No.

 258 (“January 4 Order”). The January 4 Order granted Plaintiffs’ motion in one respect, requiring

 Defendants to “provide a further detailed, complete, and specific response” to a single interrogatory

 (Interrogatory 30) directed to the Terrorist Screening Center (“TSC”) and related TSC deposition

 questioning. Id. at 2. On February 8, 2019, the TSC complied with this aspect of the January 4

 Order by providing the required supplemental response. Plaintiffs now move to compel “an

 expansive category” of additional facts related to this interrogatory—including information that is

 not in the control or possession of the TSC, the party to whom the request was directed—as well as

 yet another deposition, nearly a year after discovery closed. Mem. in Support of Pls.’ 5th MTC to

 Compel Re: Private Dissemination (“Pls.’ 5th MTC”), Dkt. No 262. Because Defendants’

 supplemental interrogatory response complied fully with the January 4 Order, and because, since

 then, Defendants have offered Plaintiffs even further information addressing a number of specific

 concerns they raised during the meet and confer process, this motion should be denied.
                                                    1
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 2 of 12 PageID# 9121



                                           BACKGROUND

         On January 4, 2019 Judge Trenga ruled on what was, prior to the present motion, the last

 remaining outstanding discovery dispute in this case: a motion by Plaintiffs to compel numerous

 documents and other pieces of information related to terrorism screening policies and practices. See

 Pls.’ 1st MTC, Dkt. No. 139. After examining the documents at issue in camera, Judge Trenga

 concluded that “the outstanding issues appear ripe for adjudication, without the need to disclose to

 the Plaintiffs the sought after documents,” and he thus denied the motion without prejudice with

 respect to all of the documents. January 4 Order at 2. However, he granted Plaintiffs’ motion with

 respect to Plaintiffs’ Interrogatory 30, directed to the TSC, and related questions at the TSC’s Rule

 30(b)(6) deposition, ordering Defendants to provide a “further detailed, complete, and specific

 response” addressing “documents or information [TSC] possesses concerning indirect dissemination

 to [private] entities.” Id. n.1.

         Defendants provided the required supplemental interrogatory response on February 8, 2019,

 see Pls.’ 5th MTC Ex. A (“Supp. Resp.”). In particular, the supplemental response describes access

 to TSDB information by TSC contract employees; the process by which private entities can gain

 access to search the National Crime Information Center (“NCIC”), 1 which contains the Known or

 Suspected Terrorist File, a subset of the TSDB; the types of private entities that are allowed access

 to search NCIC; the number of Originating Agency Identifiers (“ORIs”) 2 issued to private entities,

 which are required to receive access to search NCIC; the measures used to keep any KST hit

 information confidential with respect to private entities that receive access to search NCIC; and

 TSC’s understanding of the Department of Homeland Security’s (“DHS”) indirect dissemination of


 1
  The NCIC is a nationwide, computerized information system administered by the Federal Bureau
 of Investigation (“FBI”).
 2
  An ORI is a multi-character alphanumeric identifier assigned by NCIC to an agency or entity in
 order to identify it in transactions on the NCIC System.

                                                    2
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 3 of 12 PageID# 9122



 TSDB information. 3 See Supp. Resp. at 1-5. Plaintiffs filed the present motion on February 15,

 2019. Pls.’ 5th MTC.

        Subsequent to both the initiation of the meet and confer process as well as the filing of this

 motion, Defendants continued to confer with Plaintiffs in an effort to resolve this matter without

 further motion practice. On February 15, 2019, defense counsel provided Plaintiffs with additional

 detailed information in response to three specific questions that Plaintiffs had posed during their

 meet and confer phone call regarding certain operational or legal aspects of the NCIC. 4 Defendants’

 Exhibit (“DEX”) A, B. In further response to a line of questioning raised by Plaintiffs’ counsel on

 the same phone call, on February 19, 2019 TSC also produced an addendum to the supplemental

 interrogatory response. DEX C. The sworn addendum explains that five memoranda of

 understanding (“MOUs”) between TSC and various federal agencies—all of which were identified

 on privilege logs during the course of discovery—“envision some screening by government agencies

 of personnel connected to private entities against the TSDB,” and provides a general description of

 the specific screening contemplated by each of these MOUs, respectively. Id.




 3
  As discussed additionally below, Plaintiffs never served any interrogatories on any DHS
 component, including the Transportation Security Administration (“TSA”) or U.S. Customs and
 Border Protection (“CBP”). The operative discovery request, Interrogatory 30, was directed to and
 served on TSC only. See, e.g., Dkt. No. 178 at 3-7 (setting forth in detail the procedural background
 of discovery in this case).
 4
   Specifically, Defendants provided detailed answers to the following questions posed by Plaintiffs:
 (1) The rules cited in the [interrogatory] response are about use of “criminal records.” TSDB data is
 not a criminal record. Why do these apply to TSDB data?; (2) How or why are university police and
 hospital security considered criminal justice agencies?; and (3) How do private entities apply for or
 receive an ORI?

                                                    3
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 4 of 12 PageID# 9123



                                              ARGUMENT

         I.      Defendants’ Supplemental Response Fully Complies with the Court’s Order.

         The Court’s January 4 Order states that “Defendants should provide a further detailed,

 complete, and specific response to Plaintiffs’ Interrogatory Number 30 and related questions at the

 TSC’s Rule 30(b)(6) deposition.” January 4 Order at 2. In particular, the Court noted that

 Defendants had not “identified any documents or information it possesses concerning indirect

 dissemination to [private] entities” in response to Plaintiffs’ Interrogatory 30. Id. at 2 n.1.

         Interrogatory 30 states: “Identify all information TSC possesses that indicates for-profit

 companies received TSDB information.” See Pls.’ 5th MTC, Ex. A. Although the interrogatory is

 directed only to information regarding for-profit entities, TSC’s supplemental response addresses

 both direct and indirect access by private entities generally. See id. The response provides the

 required “further detailed, complete, and specific” response Judge Trenga required. January 4

 Order, at 2. As described above, the supplemental response goes into detail to describe the process

 by which private entities may gain access to search NCIC, what kinds of entities are allowed to do

 so, measures to keep NCIC information confidential, the total number of ORIs, and TSC’s

 understanding of DHS’s indirect dissemination of TSDB information. See Supp. Resp. at 1-5.

 Further, as described above, subsequent to serving the supplemental response, Defendants have

 provided additional information to Plaintiffs in response to certain specific questions they have

 posed regarding the supplemental interrogatory response, including regarding, inter alia, non-

 governmental entities’ ability to search NCIC. 5



 5
  As explained in the Rago Declaration, information in an NCIC file, such as the KST file, can only
 be accessed pursuant to a properly formed query (which cannot be based on name alone) on a
 specific individual. Thus, a user cannot perform broad searches, such as searches to look for groups
 of people who are listed in the KST File, or to obtain a list of all individuals listed in the KST File.
 Rago Decl. ¶ 8.

                                                     4
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 5 of 12 PageID# 9124



         Plaintiffs’ various objections to TSC’s supplemental response lack merit. First, they object

 to the fact that the supplemental response “includes no privileged information of any kind.” See Pls.’

 5th MTC at 3. But the January 4 Order did not require that Defendants produce any privileged

 information—in fact it did not address the issue of privileges at all. See January 4 Order. Instead,

 Judge Trenga stated that the “supplemental response shall be provided subject to the outstanding

 protective order 6 and shall also be limited to ‘attorneys’ eyes only.’” Id. at 2. Plaintiffs appear to

 draw from this sentence that Defendants should be required to answer the interrogatory with

 privileged information. This is not so—Defendants were able to provide a full and complete

 response on the public record.

         Plaintiffs claim that the information is not “detailed,” and list considerably vague and open-

 ended information that they believe should be included in the supplemental response. See Pls.’ 5th

 MTC at 4. First, they claim that Defendants’ supplemental interrogatory response “d[id] not provide

 any other information about the application process [to obtain an ORI, such as] whether private

 entities of all kinds can apply or whether the federal government enlists private entities to obtain an

 ORI and thus expand the reach of its watchlisting system.” Id. With respect to “whether private

 entities of all kinds can apply,” the supplemental response itself answers this question. An ORI may

 not be obtained by any kind of entity, only those “providing services on behalf of or in support of a

 [criminal justice agency],” in accordance with the federal statutes and regulations cited in the

 response. Supp. Resp. at 3. 7 These entities are “private correctional facilities; private security

 services for governmental facilities and hospitals; companies providing criminal justice dispatching

 services or data processing/information services to governmental criminal justice agencies; private


 6
  Notwithstanding the Court’s reference to an “outstanding” protective order, Defendants note that
 there is no such extant order in this litigation.
 7
  Pursuant to 28 U.S.C. § 534(a)(4), (e), such entities include qualified police departments of railroads
 as well as of private colleges and universities.

                                                      5
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 6 of 12 PageID# 9125



 probation and pretrial services companies; private city attorneys; and other entities similarly

 performing criminal justice services.” Id.

         With respect to whether the federal government “enlists” private entities to obtain an ORI

 “and thus expand[s] the reach of its watchlisting system,” Plaintiffs’ question appears to indicate a

 fundamental misunderstanding about the Government’s handling of TSDB information. The

 Government does not seek out ways to “expand the reach” of such information to private entities—

 instead the Government carefully protects that information, such that only those private entities that

 need the information in furtherance of the mission of criminal justice agencies and protection from

 terrorism, may access it, subject to strict oversight and control.

         Plaintiffs further request the “government’s rationale in providing 1441 entities access to

 TSDB data.” 8 This, too, is beyond the scope of the Court’s order and the interrogatory. The

 interrogatory requests “information TSC possesses that indicates for-profit companies received

 TSDB information,” not information about the government’s rationale for doing so. This question

 was also not posed in any related question at the TSC deposition referenced in the Court’s Order.

 Discovery has ended—Plaintiffs may not seek to ask new questions one week prior to summary

 judgment. Moreover, the rationale for providing these entities with the ability to search NCIC is

 self-evident from the nature of the entities to whom access is given—search access is only provided

 to entities that support the government’s law enforcement functions.

         In their motion, Plaintiffs now also demand—despite never having served a single

 interrogatory on either agency during the course of discovery—information about TSA and CBP



 8
   As explained in the supplemental response, there are not 1441 separate private entities with access;
 rather there are “currently 1441 ORIs issued to private entities pursuant to either 28 C.F.R. § 20.33
 or 28 U.S.C. § 534. However, the number of private entities issued ORIs under these provisions is
 less than 1441 as in many cases multiple ORIs have been issued to the same entity.” Supp. Resp. at
 4.

                                                     6
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 7 of 12 PageID# 9126



 information sharing. This information, too, is beyond the scope of Interrogatory 30—which like the

 TSC deposition, sought information solely from TSC 9—and therefore also beyond the scope of the

 January 4 Order. Nonetheless, TSC did include information within its possession with respect to

 such information. See Pls. Mot. Ex. A at 4-5.

           Plaintiffs also now request information respecting “critical infrastructure components that

 use the TSDB in screening prospective employees,” and “other forms of private-sector or event

 screening.” During the meet and confer process, TSC pointed out to Plaintiffs the existence of

 several MOUs—all of which were identified in Defendants’ privilege logs—between TSC and other

 agencies (including the one referenced by Plaintiffs, between TSC and DHS), some of which

 contemplate screening personnel connected to certain private entities against the TSDB. TSC has

 provided Plaintiffs with a list of those MOUs, their corresponding privilege log entries, and the types

 of screening those MOUs contemplate. DEX C. 10

           Plaintiffs pose questions about how and in what manner private entities use TSDB data.

 Once again, this strays beyond the Court’s Order, which is confined to Interrogatory 30 and related

 deposition questioning. See January 4 Order at 2. Plaintiffs further present rhetorical questions with

 respect to access to TSDB information by universities, hospitals, and cellular providers. No

 Plaintiffs have raised any allegations with respect to university admissions, entry to hospitals, or

 being fired by cellular providers, and the Court should refrain from compelling answers to such

 questions because they are irrelevant. With respect to the two industries that are relevant to

 Plaintiffs’ allegations—banks and car dealerships—TSC specifically stated in its supplemental

 interrogatory response that it was “not aware of any mechanism, policy, or practice that would



 9
     Plaintiffs did not serve any interrogatories on TSA or CBP.
  As the addendum to the supplemental response explains, “[t]hese MOUs do not contemplate any
 10

 TSDB export to private entities or access by those private entities to the TSDB.” DEX C at 2.

                                                     7
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 8 of 12 PageID# 9127



 permit TSDB information to be shared with car dealerships or banks.” Supp. Resp. at 5. Moreover,

 the Supplemental Response to Interrogatory 30 already explains that private entities permitted access

 under 28 C.F.R. § 20.33(a)(7) must be providing services on behalf of or in support of a

 governmental criminal justice agency and are subject to a security addendum that limits the use of

 the NCIC information. See Supp. Resp. at 3.

         Finally, Plaintiffs request this court compel the actual names of the private sector entities

 who have access to TSDB data through NCIC because they purportedly need those names to assess

 the extent of dissemination. As a preliminary matter, nothing in the Court’s January 4 Order

 expressly required TSC to state the names or identities of individual entities with some kind of

 access to TSDB information. Defendants understood the Order to permit them to fully and

 completely describe the categories of entities who may receive such information and provide

 descriptions of the categories. This is responsive to the Court’s Order and far more useful to

 resolving the impending summary judgment motions than a list of specific identities. Moreover,

 this information is protected by the law enforcement privilege, as publication of the list of entities

 with access to the NCIC database could potentially be misused by someone seeking to access the

 NCIC for an improper purpose. Rago Decl. ¶ 7; see In Re the City of New York, 607 F.3d 923, 936-37

 (2d Cir. 2010) (describing protective orders associated with law enforcement sensitive information as

 a “deeply flawed procedure that cannot fully protect the secrecy of information in this case; it merely

 mitigates—to some degree—the possibility of unauthorized disclosure.”); cf. Am. Ctr. for Law &

 Justice v. U.S. Dep’t of Justice, 334 F. Supp. 3d 13, 19–20 (D.D.C. 2018) (finding that FBI’s withholding

 of names of support employees proper under FOIA, and citing testimony that FBI routinely

 protects names of employees with access to sensitive information as they may become targets of

 harassing inquiries or recruitment for unauthorized access to sensitive information).




                                                     8
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 9 of 12 PageID# 9128



         II.     Plaintiffs Are Not Entitled to Another Deposition

         Plaintiffs further seek permission to take a second deposition of the FBI’s designated Rule

 30(b)(6) witness in this litigation, Deputy Assistant Director (“DAD”), Counterterrorism Division,

 Matthew DeSarno, on the basis of what they claim to have been “outright deception” in his

 deposition. Defendants take strong exception to Plaintiffs’ unfounded suggestion DAD DeSarno

 provided deliberately deceptive testimony, and the relief Plaintiffs now seek is unwarranted.

         At DAD DeSarno’s 30(b)(6) deposition, when asked if any private entity has “any type of

 access to NCIC,” DeSarno responded “not that I’m aware of.” DeSarno responded truthfully in

 that he was personally not aware of any private entity access to NCIC. 11 . DeSarno testified that he

 was not aware of any private entities having “carte blanche access to NCIC” and that he was

 unaware of “any people that are not affiliated with a law enforcement agency that have access to

 NCIC.” Tr. 113-114. The supplemental responses provided by the TSC reaffirm these important

 limitations on private access to NCIC, i.e., that only private entities providing services on behalf of

 or in support of a criminal justice agency, and who have submitted the necessary information, are

 then provided an ORI which allows NCIC information to be accessed pursuant to a properly

 formed query on a specific individual. Supp. Resp.; see generally Rago Decl.

         Nonetheless, as demonstrated by the parties’ email correspondence predating the filing of

 this motion, see DEX A, B, when Defendants saw how Plaintiffs’ counsel perceived DeSarno’s

 response to have been inaccurate, Defendants acknowledged that counsel should have more fully

 prepared the deponent on this topic and sought an opportunity to clarify the deponent’s answer (as

 government counsel and witnesses did on numerous occasions throughout the 30(b)(6) depositions,

 including DAD SeDarno’s, see DEX D at 116-117; 120; 184-185). Further, the supplemental



  As then-DAD of the Counterterrorism Division, NCIC’s operations were not part of DAD
 11

 DeSarno’s executive or supervisory responsibilities.

                                                     9
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 10 of 12 PageID# 9129



  interrogatory responses have now clarified the testimony. In these circumstances, a new deposition

  is clearly not warranted.


                                               CONCLUSION
          For the foregoing reasons, the Court should deny Plaintiffs’ Motion to Compel in full.


  Dated: February 20, 2019                         Respectfully submitted,

                                                   G. ZACHARY TERWILLIGER
                                                   United States Attorney

                                                   JOSEPH H. HUNT
                                                   Assistant Attorney General
                                                   Civil Division

                                                   ANTHONY J. COPPOLINO
                                                   Deputy Director, Federal Programs Branch

                                                   AMY POWELL
                                                   DENA M. ROTH
                                                   ANTONIA KONKOLY
                                                   CHRISTOPHER HEALY
                                                   Trial Attorneys, Federal Programs Branch
                                                   United States Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   20 Massachusetts Avenue NW, Room 7324
                                                   Washington, DC 20530
                                                   Tel: (202) 514-2395
                                                   amy.powell@usdoj.gov
                                                   dena.m.roth@usdoj.gov
                                                   antonia.konkoly@usdoj.gov
                                                   christopher.healy@usdoj.gov


                                                   /s/ Lauren A. Wetzler
                                                   LAUREN A. WETZLER
                                                   Chief, Civil Division
                                                   Assistant United States Attorney
                                                   2100 Jamieson Ave.,
                                                   Alexandria, VA. 22314
                                                   Tel: (703) 299-3752
                                                   Fax: (703) 299-3983
                                                   Lauren.Wetzler@usdoj.gov


                                                   10
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 11 of 12 PageID# 9130



                                       Attorneys for Defendants




                                       11
Case 1:16-cv-00375-AJT-JFA Document 268 Filed 02/20/19 Page 12 of 12 PageID# 9131



                                     CERTIFICATE OF SERVICE


          I hereby certify that on February 20, 2019, I filed the foregoing via the CM/ECF system,

  which will send a Notification of Electronic Filing to all counsel of record.


  /s/ Lauren A. Wetzler
  LAUREN A. WETZLER
  Chief, Civil Division
  Assistant United States Attorney
  2100 Jamieson Ave.,
  Alexandria, VA. 22314
  Tel: (703) 299-3752
  Fax: (703) 299-3983
  Lauren.Wetzler@usdoj.gov




                                                    12
